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Jonathan L. Howell - Section Head of
Bankrupicy, Restructuring, & Crediters’ Rizhis
Direct Dial: (214) 273-6409

Facsimile: (214) 723-5966

jhowell@ mecathernlaw.com

October 23, 2014

Via Federal Express (Overnight Delivery):

Energy Future Holdings Corp. Claims Processing Center
c/o Epiq Bankruptcy Solutions, LLC

757 Third Avenue, 3rd Floor

New York, NY 10017

Re: — Red Ball Oxygen Company’s Proof of Claim for Oak Grove Management
Company LLC, Case No. 14-11022 (CSS)

To Whom It May Concern:

Enclosed you will find one onginal and one copy of Red Ball Oxygen Company’s
proof of claim to be filed in the above-referenced bankruptcy case pending in the U.S.
Bankruptcy Court for the District of Delaware. The proof of claim is for a total amount of
$24,346.29, of which $10,203.60 is for § 503(b)(9) administrative expenses. Please file the
original proof of claim in the official claims registry and file stamp and return the copy to:
Jonathan L. Howell
McCathern PLLC
Regency Plaza
3710 Rawlins Street, Suite 1600
Dallas, Texas 75219

For your convenience, | have also enclosed an envelope addressed to the address stated
above.

if there are any complications or questions you need answered, please feel free to
contact me directly.

Yours truly,

Jonathan L. Howell

3710 Rawlins Si, Ste, 1600) Dallas, Texas 78219 | Phone: 214.273.6409 | Pax: 214.723.5866 | meeatherniawcom
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SANDOW POWER COMPANY LLC

Customer Invoice Number [Purchase Order Number |Amourit (SUM) Contract 503(b}(9)
50625 LUMINANT SANDOW #5 SES 3136929 98373 $ 1,200.00 |CO766210C

50625 LUMINANT SANDOW #5 SES 3156925 $ (1,145. O7}1C0760210C

50625 LUMINANT SANDOW #5 SES 3139102 98373 S {45.00}|CO07602 10C

50625 LUMINANT SANDOW #5 SES 3153941 166393 S 201.90 (CO760211C

50625 LUMINANT SANDOW #5 SES 3153942 106392 $ 5,040.00 |CO760211C

50625 LUMINANT SANDOW #5 SES 3153943 106798 S 8,028.70 (CO760211C

50625 LUMINANT SAMDOW #5 SES 3153944 106799 $ 6,714.53 |CO760211C

50625 LUMINANT SANDOW #5 SES 3153945 106798 S 18,478.26 ICO76Q211C

50625 LUMINANT SANDOW #5 SES 3153946 108921 g 225.00 |CO760210C

50625 LUMINANT SANDOW #5 SES 3153947 1059326 $ 225.00 (CO760210C

50625 LUMINANT SANDOW #5 SES 3153948 109957 S$ 580.00 |CO760211C

50625 LUMINANT SANDOW 45 SES 3159949 Ji6153 S 330.00 1CO760210C

50625 LUMINANT SANDOW #5 SES 3156326 106798 S 48.34 (CO760211C

50625 LUMINANT SANDOW 45 SES 3156327 112302 $ 1,865.20 [CO760211C

50625 LUMINANT SANDOW #5 SES 3158266 112302 > 672.99 ;CO7560211C

90625 LUMINANT SANDOW #5 SES 2158267 113237 S 375.00 |CO760210C

50625 LUMINANT SANDOW #5 SES 3160725 113483 S 536.41 |CO760211C

50625 LUMINANT SANDOW #5 SES 3160726 113545 $ 375.00 [CO760210C

50625 LUMINANT SANDOW #5 SES 3160727 114155 $ 225.00 |CO760210C

50625 LUMINANT SANDOW #5 SES 3162046 113483 S 109.05 |CG760211C

50625 LUMINANT SANDOW #5 SES 3162047 118173 § 436.22 |CO760210C

50625 LUMINANT SANDOW 85 SES 3162575 116245 $ 1,407.85 1CO760211C x
50625 LUMINANT SANDOW 45 SES 3163512 113829 § 119.00 |CO76021iC x
50625 LUMINANT SANDOW #5 SES 3163613 115938 $ 450.00 |CO760216C x
50625 LUMINANT SANDOW 85 SES 3163614 116245 2 330.80 |CO760211C x
50625 LUMINANT SANDOW #5 SES 3163615 116289 S 211.40 |CO760211C x
50625 LUMINANT SANDOW 4&5 SES 3163616 116305 S $10.30 |CO760210C xX
506275 LUMINANT SANDOW #5 SES 3164203 116245 $ (105.40)|CO760211C

S0625 LUMINANT SANDOW #5 SES 3165260 116245 S 25.00 (CO760211C x
50625 LUMINANT SANDOW 45 SES 3165261 L17032 S$ 225,00 |CO760210C x
50625 LUMINANT SANDOW #5 SES 3165262 117633 S 150.72 |CO760211C x
50625 LUMINANT SANDOW #5 SES 2168644 113203 § 660.00 1C0760210C x
50625 LUMINANT SANBOW #5 SES 3168645 115964 S 288.47 |CO760210C x
50625 LUMINANT SANDOW 45 SES 3168646 § 314.00 1CO0760211C x
50625 LUMINANT SANDOW #5 SIS 3169261 120052 S 322.06 |CO760210C x
50625 LUMINANT SANDOW 45 SES 3169262 88709 4 262.02 |CO760210C x
50625 LUMINANT SANDOW #5 SES 317652 119711 S 169.00 [CO760211C x
50625 LUMINANT SANDOW #5 SES 3170527 122066 8 1,527.76 |CO760211C x
50625 LUMINANT SANBOW #5 SES R752786 vessel LIS53 S 3,699.08 (CO7602 10C

50025 LUVUNANT SANDOW #5 SES R?S9334 vessel 11353 5 3,892.78 (CO760210C

51089 LUMINANT SANDOW #4 2879616 S (32,03)/CO760211C

51089 LUMINANT SANDOW #4 2996890 S (33.60});CO760211C

51089 LUMINANT SANDOW #4 3033469 49869 5 41. 251CO760211C

51089 LUMINANT SANDOW #4 3138041 RETURNS S (48,926.72):CO760211C

51089 LUMINANT SANDOW #4 3153960 105776 s 683. 011CO7G0211C

51089 LUMINAINT SANDOW #4 3153961 107616 g 8.29|CO760212C

51089 LUMINANT SANDOW #4 3183962 107664 S 8.251CO7H0211C

S1089 LUMINANT SANDOW #4 3153963 108261 5 115.56/C07602 10C

51085 LUMINANT SANDOW #4 3 64 108614 S 4,390.41/C0760210C

51089 LUMINANT SANDOW #4 3153865 109330 5 225,001C07602 10C

51089 LUMINANT SANDOW #4 3153966 109955 4 225.001C0760210C

SLOBS LUMINANT SANDOW 84 3153968 &8801 S 1.384, 181CO7602 10C

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51089 LUMINANT SANDOW 44 3156338 110330 S 35 32/Co760711C
31089 LUMINANT SANDOW #4 3156339 110606 S 16.50/CO760211C

51089 LUMINANT SANDOW #4 3156340 110932 S 70. 20/CO760210C

51089 LUMINANT SANDOW #4 3156341 111395 § 51,56/CO760211C

51089 LUMINANT SANDOW #4 3156342 111363 § 225.00}C07602 10C

51089 LUMINANT SANDOW #4 3156343 111761 5 136.10/CO760211C

31089 LUMINANT SANDOW #4 3157625 111395 S 49. 18|CO760211C

51089 LUMINANT SANDOW #4 3157626 112473 S 235.34|CO760211C

51089 LUMINANT SANDOW #4 3157627 112549 g 75.39/CO760211C

51089 LUMINANT SANDOW #4 3157628 112796 g 1,530.90/C0760210C

51089 LUMINANT SANDOW #4 3158280 11761 5 53.80/CO760211C

51089 LUMINANT SANDOW #4 3158281 113182 § 16.50/Ca760211C

5.1089 LUMINANT SANDOW #4 3158282 113224 g 27,90/CO760211C

51089 LUMINANT SANDOW #4 3158283 113238 $ 1,020.60|C0760210C

51089 LUMINANT SANDOW #4 3160215 114631 $ 20.00/Co760211C

51089 LUMINANT SANDOW #4 3160739 112118 S 11,.75/C0760211C

51089 LUMINANT SANDOW #4 3160740 113205 g 225.00|C0760210C

51089 LUMINANT SANDOW #4 3160741 113580 g 27,901C0760211C

51089 LUMINANT SANDOW #4 3160742 14319 S 1,530.901C0760210C

51089 LUMINANT SANDOW #4 3160743 114366 § 78.36 CO760211C

51089 LUMINANT SANDOW #4 3160744 114631 § 907.601C0760211C

51089 LUMINANT SANDOW #4 3160745 114675 g 1.415.66|CO760211C

51089 LUMINANT SANDOW #4 3162057 107276 § 180.24 CO760211C

51089 LUMINANT SANDOW #4 3162058 114244 $ 100.681€0760211C

51089 LUMINANT SANDOW #4 3162059 114366 $ 26.12 /CO7HO211C

51089 LUMINANT SANDOW #4 3162060 115427 S 765.45|C0760210C

51089 LUMINANT SANDOW #4 3162061 114710 5 61.50 1CO7S0211C

51089 LUMINANT SANDOW #4 3163625 114529 S 206.30(C0760211C x
51089 LUMINANT SANDOW #4 3163626 115427 g 255.151€0760210C x
51089 LUMINANT SANDOW #4 3163627 115084 § 40.26|CO7B0211C x
51089 LUMINANT SANDOW #4 3163628 116001 g 270.96|CO760211C x
51089 LUMINANT SANDOW #4 3163629 115937 S 225.00/CO 7602 10C x
51089 LUMINANT SANDOW #4 3163630 116238 $ 237. 60/CO760? 10C x
51084 LUMINANT SANDOW #4 3165280 116765 5 48.52 CO760211C x
51089 LUMINANT SANDOW #4 3166390 88201 § 1,427. 72|€0760210C x
51089 LUMINANT SANDOW 44 3168650 117396 § 168.48 /CO760210C x
51089 LUMINANT SANDOW #4 3168651 118686 § 73.27 (C0702 11C x
51089 LUMINANT SANDOW #4 3168652 119020) $ 450,00/C0760210C x
51089 LUMINANT SANDOW #4 3170540 115084 g 685,00|C0760210C x
STO89 LUMINANT SANDOW #4 R7S2887 CREDC1525U 5 2,087.89/CO760210C

51089 LUMINANT SANDOW #4 R759445 CREDC1625U S 2.869. 33/CO760210C

52286 LUMINANT SANDOW 45 R69 7091 g 34.41 1C0760210C

52286 LUMINANT SANDOW #5 R753150 CREDC8655U $ 35.03 |CO?760210C

52286 LUMINANT SANDOW 45 R759721 CREDC8G5SU $ 33.90 ICO760210C
[TOTAL CLAIM AMOUNT S 35,057.14

[TOTAL 503(b)(9) CLAIM § 11,058.64

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., Case No. 14-10979 (CSS)

etal, GUointly Administered)
Debtors.

ATTACHMENT OF RED BALL OXYGEN COMPANY TO
PROOF OF CLAIM

Red Ball Oxygen Company (“Red Ball”) hereby submits this attachment to its proof of

claim (ihe “Proof”), and in support thereof respectfully show the Court as follows:

1. Red Ball requests allowance and payment of an administrative expense claim
for the value of gases and other welding supplies (collectively, the “Red Bail Goods”) supplied
to Energy Future Holdings Corporation and its affiliated debtors (collectively, the “Debtors”)
within the twenty (20) day period prior to April 29, 2014 «he “Petition Date"), which

amount aggregates $150,227.34 (the “503(b\(9) Claim”). To support the 503(b)(9) Claim,

attached hereto as Exhibit 1 is a summary of the invoices for the Red Ball Goods. Other
documentation, including the master supply contracts between Red Ball and the Debtors, is
available upon request. Red Ball requests that its 503(b)(9) Claim be allowed and paid in
full.

2. The Goods were delivered to the Debtors in the ordinary course of the
Debtors” business. The 503(b)(9) Claim is based only on the value of the Red Ball Goods
and not for services. If any additional information is required to substantiate the 503(b\(9)
Claim, then such information will be made available upon request.

3. The service of this Application is without prejudice to any claims,

ATTACHMENT TO RED BALL ORYGEN COMPANY PROOF OF CLAIM - Page I

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defenses, setoffs, recoupment rights, and any other rights that Red Ball may have, whether
prepetition or postpetition, contingent or uncontingent, liquidated or unliquidated, and the
assertion of this Proof shall in no way prejudice or limit the ability of Red Ball to assert any
and all other claims that they may have against the Debtors. Red Ball expressly reserves its
right to amend and/or supplement this Proof as otherwise appropriate, to assert other
administrative expenses or postpetition claims, and to assert prepetition claims of any and all
types and priorities.

Dated: September 29, 2014 CIARDI CIARDI & ASTIN
Wilmington, Delaware

‘sf Joseph J McMahon, Ir.

Daniel K. Astin, Esa. (No. 4068)

John D. McLaughlin, Jr., Esq. (No. 4123)
Joseph J. McMahon, Jr., Esq. (No. 4819)
1204 N. King Street

Wilmington, DE 19801

Phone: (302) 658-1100

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Regency Plaza

3710 Rawlins, Suite 1600
Dallas, TX 75219

Phone (214) 741-2662
Facsimile: (214) 741-4717

Counsel to Red Ball Oxygen Company

ATTACHMENT TO RED BALI OXYGEN COMPANY PROOF OF CLAIM - Page 2
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